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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

UNITED STATES OF AMERICA


v.                                                     Case No. 3:11-cr-247-Orl-37JBT-1

RICHARD OLIN DUNN.


                                         ORDER

       The cause is before the Court on the Opinion and Mandate Issued by the

U.S. Court of Appeals for the Eleventh Circuit (Doc. 182), filed June 22, 2016.

       On December 1, 2011, Defendant pled guilty to, and the Court adjudicated him

guilty of, two federal drug trafficking charges. (See Doc. 55; see also Doc. 57.) At

sentencing, Defendant’s initial criminal offense level was 36 with a criminal history

category of one, resulting in an initial guideline range of 188 to 235 months’ imprisonment.

(See Doc. 161, p. 13.) After the Court credited Defendant with a three-level downward

adjustment for acceptance of responsibility (id. at 5, 28), his criminal offense level was

reduced to 33, yielding an applicable guideline range of 135 to 168 months’ imprisonment

(“Original Applicable Range”) (Doc. 176, pp. 1–2). The Court also granted the Motion

by the United States for Downward Departure of Defendant’s Sentence Based upon

Substantial Assistance (Doc. 117) and departed downward two additional levels

(“Assistance Departure”) (Doc. 161, p. 14), ultimately sentencing Defendant to 120

months’ imprisonment (id. at 33–34). (See Docs. 123, 124.)

       On September 3, 2015, Defendant moved for a sentence reduction pursuant to

Amendment 782. (Doc. 174.) The parties agreed that: (1) pursuant to Amendment 782,

the Original Applicable Range would be reduced to 108 to 135 months’ imprisonment
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(“Reduced Range”) (see Doc. 175, pp. 1, 3); and (2) the Court had discretion to apply a

downward departure from the Reduced Range in an amount comparable to the

Assistance Departure from the Original Applicable Range. (See Docs. 174, 175.)

However, the parties disagreed as to how the Court should calculate a comparable

departure.

      Defendant requested that the Court employ a “level-based approach”—that is,

depart from the Reduced Range the same number of levels that the Court departed from

the Original Applicable Range, resulting in a guideline range of 87 to 108 months’

imprisonment. (See Doc. 174). Conversely, the Government argued that the Court was

required to employ a “percentage-based approach”—that is, depart from the bottom of

the Reduced Range in an amount equal to the percentage departed from the bottom of

the Original Applicable Range—eleven percent. (See Doc. 175.) Ultimately, the Court

adopted the Government’s position and applied an eleven-percent downward departure

from the bottom of the Reduced Range, resulting in a sentence of 96 months’

imprisonment. (Doc. 176 (“782 Order”).) Defendant subsequently appealed the Court’s

782 Order (see Doc. 177) and moved for summary reversal (see Doc. 182, p. 1).

      On appeal, the U.S. Court of Appeals for the Eleventh Circuit reversed the Court’s

782 Order and reiterated its recent holding in United States v. Marroquin-Medina,

817 F.3d 1285, 1292–93 (11th Cir. 2016)—that is, that “a district court commits

procedural error if it concludes that the percentage-based approach is the only

permissible method of calculating the degree of a ‘comparable reduction’ under the

[U.S. Sentencing Guidelines].” (Doc. 182, p. 4). Consequently, the Eleventh Circuit held

that the Court erred by adopting the Government’s position in its 782 Order and, thus,




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granted Defendant’s motion for summary reversal. (Id. at 4–5.)

      Pursuant to the Eleventh Circuit’s Opinion, the Court acknowledges its discretion

to use either a level-based approach or a percentage-based approach in applying a

comparable downward departure for Defendant’s substantial assistance. See

Marroquin-Medina, 817 F.3d at 1292–93. Here, applying the level-based approach would

reduce Defendant’s criminal offense level to 29, yielding an applicable guideline range of

87 to 108 months’ imprisonment. Although a sentence of 96 months’ imprisonment is well

within this range, the Court elects to exercise its new-found discretion to: (1) reduce

Defendant’s criminal offense level from 31 to 29;1 and (2) sentence Defendant to 87

months’ imprisonment.

      Accordingly, it is hereby ORDERED AND ADJUDGED Defendant’s sentence is

reduced to 87 months’ imprisonment. An Amended Judgment will be entered pursuant to

the Court’s Order.

      DONE AND ORDERED in Chambers in Orlando, Florida, on June 29, 2016.




      1 Defendant’s criminal history category of one remains unaltered.




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Copies:

Counsel of Record




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